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       Undersheriff Paul Tanaka and Captain William Carey
   6
   7
   8                      UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
  10
  11   ANTHONY BROWN,                    )        Case No. 2:15-cv-02162-DDP-E
                                         )
  12                Plaintiff,           )        Honorable Dean D. Pregerson
                                         )
  13          vs.                        )
                                         )        DEFENDANTS UNDERSHERIFF
  14   COUNTY OF LOS ANGELES,            )        PAUL TANAKA AND CAPTAIN
       SHERIFF LEROY D. BACA,            )        WILLIAM CAREY’S ANSWER TO
  15   UNDERSHERIFF PAUL TANAKA, )                PLAINTIFF’S COMPLAINT;
       CAPTAIN WILLIAM CAREY,            )        DEMAND FOR JURY TRIAL
  16   LIEUTENANT GREGORY                )
       THOMPSON, LIEUTENANT              )
  17   STEPHEN LEAVINS, SERGEANT )
       SCOTT CRAIG, SERGEANT             )
  18   MARCIELLA LONG, DEPUTY            )
       GERARD SMITH, DEPUTY              )
  19   MICKEY MANZO, DEPUTY JAMES )
       SEXTON, individually and in their )
  20   official capacities, and DOES 1   )
       through 10, inclusive,            )
  21                                     )
                    Defendants.          )
  22                                     )
  23
  24         TO THE HONORABLE COURT, ALL PARTIES, AND TO THEIR
  25   ATTORNEYS OF RECORD:
  26         Defendants Undersheriff Paul Tanaka and Captain William Carey
  27   (“Answering Defendants”) answer to Plaintiff Anthony Brown’s Complaint
  28   (“Complaint”) for themselves alone and for no others as follows:

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   1         1.     In answer to paragraph 1 of Plaintiff’s Complaint, Answering
   2   Defendants admit that Plaintiff is attempting to assert six causes of action, all
   3   under federal law, including pursuant to 42 U.S.C. §§ 1983 and 1988 and 29
   4   U.S.C. § 701, et seq.
   5         2.     In answer to paragraph 2 of Plaintiff’s Complaint, Answering
   6   Defendants admit that the Court has jurisdiction over this matter pursuant based
   7   on federal question jurisdiction pursuant to Plaintiff’s claims brought under 42
   8   U.S.C. §§ 1983 and 1988, and 29 U.S.C. § 701, et seq., 42 U.S.C. § 12131, et
   9   seq., 28 U.S.C. §§ 1331 and 1343. With respect to the remaining allegations,
  10   Answering Defendants are without sufficient knowledge or information, at this
  11   time, to form a belief as to the truth of the allegations contained in said paragraph,
  12   and on that basis, deny each and every remaining allegation.
  13         3.     In answer to paragraph 3 of Plaintiff’s Complaint, Answering
  14   Defendants admit that venue is proper in the United States District Court, Central
  15   District of California. Answering Defendants admit the incident giving rise to
  16   this lawsuit occurred in Los Angeles, California, but deny that Plaintiff was
  17   injured as a result of any conduct of Answering Defendants.
  18         4.     In answer to paragraph 4 of Plaintiff’s Complaint, Answering
  19   Defendants are without sufficient knowledge or information to form a belief as to
  20   the truth of the allegations contained in said paragraph, and on that basis, deny
  21   each and every allegation contained therein.
  22         5.     In answer to paragraph 5 of Plaintiff’s Complaint, Answering
  23   Defendants deny each and every allegation in said paragraph.
  24         6.     In answer to paragraph 6 of Plaintiff’s Complaint, Answering
  25   Defendants admit that Plaintiff was an individual in the custody of the Los
  26   Angeles County Sheriff’s Department for a period of time prior to and during
  27   September 2011. As to all other allegations, Answering Defendants state that the
  28   allegations are vague and ambiguous with respect to the terms “serious” and

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   1   “chronic,” and as such, Answering Defendants are without sufficient knowledge
   2   or information to form a belief as to the truth of the allegations contained in said
   3   paragraph. On that basis, the Answering Defendants deny each and every such
   4   allegation in said paragraph.
   5         7.     In answer to paragraph 7 of Plaintiff’s Complaint, Answering
   6   Defendants admit that the named defendants in this lawsuit were law enforcement
   7   officers employed with the County of Los Angeles for a period of time prior to
   8   and during September 2011. The Answering Defendants also admit that Plaintiff
   9   is suing the individual defendants in both their individual and official capacity.
  10   As to all remaining allegations in the paragraph, they are vague and ambiguous,
  11   and as such, Answering Defendants are without sufficient knowledge or
  12   information to form a belief as to the truth of the allegations contained in said
  13   paragraph. On that basis, the Answering Defendants deny each and every such
  14   allegation in said paragraph.
  15         8.     In answer to paragraph 8 of Plaintiff’s Complaint, Answering
  16   Defendants admit that Plaintiff is suing Does 1 through 10 in their official and
  17   individual capacities. The Answering Defendants deny each and every other
  18   allegation in that paragraph.
  19         9.     In answer to paragraph 9 of Plaintiff’s Complaint, Answering
  20   Defendants deny each and every allegation in said paragraph.
  21         10.    In answer to paragraph 10 of Plaintiff’s Complaint, Answering
  22   Defendants deny each and every allegation in said paragraph.
  23         11.    In answer to paragraph 11 of Plaintiff’s Complaint, Answering
  24   Defendants acknowledge that Plaintiff is realleging and incorporating by
  25   reference prior allegations, and these Answering Defendants deny said allegations
  26   to the extent previously denied.
  27         12.    In answer to paragraph 12 of Plaintiff’s Complaint, Answering
  28   Defendants admit Plaintiff is attempting to assert a cause of action for violation of

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   1   rights secured by the Eighth Amendment to the United States Constitution under
   2   42 U.S.C. §§ 1983 and 1988.
   3         13.    In answer to paragraph 13 of Plaintiff’s Complaint, Answering
   4   Defendants deny each and every allegation in said paragraph.
   5         14.    In answer to paragraph 14 of Plaintiff’s Complaint, Answering
   6   Defendants deny each and every allegation in said paragraph.
   7         15.    In answer to paragraph 15 of Plaintiff’s Complaint, Answering
   8   Defendants deny each and every allegation in said paragraph.
   9         16.    In answer to paragraph 16 of Plaintiff’s Complaint, Answering
  10   Defendants deny each and every allegation in said paragraph.
  11         17.    In answer to paragraph 17 of Plaintiff’s Complaint, Answering
  12   Defendants deny each and every allegation in said paragraph.
  13         18.    In answer to paragraph 18 of Plaintiff’s Complaint, Answering
  14   Defendants deny each and every allegation in said paragraph.
  15         19.    In answer to paragraph 19 of Plaintiff’s Complaint, Answering
  16   Defendants deny each and every allegation in said paragraph.
  17         20.    In answer to paragraph 20 of Plaintiff’s Complaint, Answering
  18   Defendants deny each and every allegation in said paragraph.
  19         21.    In answer to paragraph 21 of Plaintiff’s Complaint, Answering
  20   Defendants deny each and every allegation in said paragraph.
  21         22.    In answer to paragraph 22 of Plaintiff’s Complaint, Answering
  22   Defendants deny each and every allegation in said paragraph.
  23         23.    In answer to paragraph 23 of Plaintiff’s Complaint, Answering
  24   Defendants deny each and every allegation in said paragraph.
  25         24.    In answer to paragraph 24 of Plaintiff’s Complaint, Answering
  26   Defendants deny each and every allegation in said paragraph.
  27         25.    In answer to paragraph 25 of Plaintiff’s Complaint, Answering
  28   Defendants deny each and every allegation in said paragraph.

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   1         26.    In answer to paragraph 26 of Plaintiff’s Complaint, Answering
   2   Defendants deny each and every allegation in said paragraph.
   3         27.    In answer to paragraph 27 of Plaintiff’s Complaint, Answering
   4   Defendants deny each and every allegation in said paragraph.
   5         28.    In answer to paragraph 28 of Plaintiff’s Complaint, Answering
   6   Defendants deny each and every allegation in said paragraph.
   7         29.    In answer to paragraph 29 of Plaintiff’s Complaint, Answering
   8   Defendants acknowledge that Plaintiff is realleging and incorporating by
   9   reference prior allegations, and these Answering Defendants deny said allegations
  10   to the extent previously denied.
  11         30.    In answer to paragraph 30 of Plaintiff’s Complaint, Answering
  12   Defendants deny each and every allegation in said paragraph.
  13         31.    In answer to paragraph 31 of Plaintiff’s Complaint, Answering
  14   Defendants deny each and every allegation in said paragraph.
  15         32.    In answer to paragraph 32 of Plaintiff’s Complaint, Answering
  16   Defendants deny each and every allegation in said paragraph.
  17         33.    In answer to paragraph 33 of Plaintiff’s Complaint, Answering
  18   Defendants deny each and every allegation in said paragraph.
  19         34.    In answer to paragraph 34 of Plaintiff’s Complaint, Answering
  20   Defendants deny each and every allegation in said paragraph.
  21         35.    In answer to paragraph 35 of Plaintiff’s Complaint, Answering
  22   Defendants deny each and every allegation in said paragraph.
  23         36.    In answer to paragraph 36 of Plaintiff’s Complaint, Answering
  24   Defendants deny each and every allegation in said paragraph.
  25         37.    In answer to paragraph 37 of Plaintiff’s Complaint, Answering
  26   Defendants deny each and every allegation in said paragraph.
  27         38.    In answer to paragraph 38 of Plaintiff’s Complaint, Answering
  28   Defendants deny each and every allegation in said paragraph.

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   1         39.     In answer to paragraph 39 of Plaintiff’s Complaint, Answering
   2   Defendants acknowledge that Plaintiff is realleging and incorporating by
   3   reference prior allegations, and these Answering Defendants deny said allegations
   4   to the extent previously denied.
   5         40.     In answering paragraph 40 of Plaintiff’s Complaint, Answering
   6   Defendants admit that Plaintiff was in the custody of the Los Angeles County
   7   Sheriff’s Department for a period of time in and/or around August and September
   8   2011. The remaining allegations of paragraph 40 are vague and ambiguous, such
   9   that the Answering Defendants are without sufficient knowledge to form a belief
  10   as to the truth of the matters, and on that basis, deny each and every such
  11   allegation.
  12         41.     In answer to paragraph 41 of Plaintiff’s Complaint, Answering
  13   Defendants admit that Plaintiff’s medical records at the jail may have contained
  14   information about his medical conditions, if any. As to all other allegations in
  15   paragraph 41, Answering Defendants deny each and every allegation in said
  16   paragraph.
  17         42.     In answer to paragraph 42 of Plaintiff’s Complaint, Answering
  18   Defendants deny each and every allegation in said paragraph.
  19         43.     In answer to paragraph 43 of Plaintiff’s Complaint, Answering
  20   Defendants deny each and every allegation in said paragraph.
  21         44.     In answer to paragraph 44 of Plaintiff’s Complaint, Answering
  22   Defendants deny each and every allegation in said paragraph.
  23         45.     In answer to paragraph 45 of Plaintiff’s Complaint, Answering
  24   Defendants deny each and every allegation in said paragraph.
  25         46.     In answer to paragraph 46 of Plaintiff’s Complaint, Answering
  26   Defendants deny each and every allegation in said paragraph.
  27         47.     In answer to paragraph 47 of Plaintiff’s Complaint, Answering
  28   Defendants acknowledge that Plaintiff is realleging and incorporating by

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   1   reference prior allegations, and these Answering Defendants deny said allegations
   2   to the extent previously denied.
   3         48.    In answer to paragraph 48 of Plaintiff’s Complaint, Answering
   4   Defendants admit Plaintiff is attempting to assert a cause of action for retaliation
   5   in violation of his First Amendment rights.
   6         49.    In answer to paragraph 49 of Plaintiff’s Complaint, Answering
   7   Defendants deny each and every allegation in said paragraph.
   8         50.    In answer to paragraph 50 of Plaintiff’s Complaint, Answering
   9   Defendants deny each and every allegation in said paragraph.
  10         51.    In answer to paragraph 51 of Plaintiff’s Complaint, Answering
  11   Defendants deny each and every allegation in said paragraph.
  12         52.    In answer to paragraph 52 of Plaintiff’s Complaint, Answering
  13   Defendants deny each and every allegation in said paragraph.
  14         53.    In answer to paragraph 53 of Plaintiff’s Complaint, Answering
  15   Defendants deny each and every allegation in said paragraph.
  16         54.    In answer to paragraph 54 of Plaintiff’s Complaint, Answering
  17   Defendants deny each and every allegation in said paragraph.
  18         55.    In answer to paragraph 55 of Plaintiff’s Complaint, Answering
  19   Defendants deny each and every allegation in said paragraph.
  20         56.    In answer to paragraph 56 of Plaintiff’s Complaint, Answering
  21   Defendants deny each and every allegation in said paragraph.
  22         57.    In answer to paragraph 57 of Plaintiff’s Complaint, Answering
  23   Defendants acknowledge that Plaintiff is realleging and incorporating by
  24   reference prior allegations, and these Answering Defendants deny said allegations
  25   to the extent previously denied.
  26         58.    In answer to paragraph 58 of Plaintiff’s Complaint, Answering
  27   Defendants admit Plaintiff is attempting to allege a claim for violation of 29
  28   U.S.C. § 701, et seq.

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   1         59.    In answer to paragraph 59 of Plaintiff’s Complaint, Answering
   2   Defendants state that 29 U.S.C. § 794(a) does not define the meaning of “federal
   3   financial assistance.” Therefore, the allegations in this paragraph are vague and
   4   ambiguous such that the Answering Defendants are without sufficient knowledge
   5   to form a belief as to the truth of the allegations.
   6         60.    In answer to paragraph 60 of Plaintiff’s Complaint, Answering
   7   Defendants state that they are without sufficient knowledge to form a belief as to
   8   the truth of the matters asserted, and on that basis, they deny and every allegation
   9   in said paragraph.
  10         61.    In answer to paragraph 61 of Plaintiff’s Complaint, the Answering
  11   Defendants state that they are without sufficient knowledge to form a belief as to
  12   the truth of the matters asserted, and on that basis, they deny and every allegation
  13   in said paragraph.
  14         62.    In answer to paragraph 62 of Plaintiff’s Complaint, Answering
  15   Defendants state that 29 U.S.C. § 794(a) does not define the meaning of
  16   “programs or activities.” Therefore, the allegations in this paragraph are vague
  17   and ambiguous such that the Answering Defendants are without sufficient
  18   knowledge to form a belief as to the truth of the allegations.
  19         63.    In answer to paragraph 63 of Plaintiff’s Complaint, Answering
  20   Defendants state that the allegations in said paragraph are so vague and ambiguous
  21   such that are without sufficient knowledge to form a belief on the truth of the
  22   matters stated, and on that basis, deny each and every allegation in said paragraph.
  23         64.    In answer to paragraph 64 of Plaintiff’s Complaint, Answering
  24   Defendants deny each and every allegation in said paragraph.
  25         65.    In answer to paragraph 65 of Plaintiff’s Complaint, Answering
  26   Defendants deny each and every allegation in said paragraph.
  27         66.    In answer to paragraph 66 of Plaintiff’s Complaint, Answering
  28   Defendants deny each and every allegation in said paragraph.

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   1         67.     In answer to paragraph 67 of Plaintiff’s Complaint, Answering
   2   Defendants acknowledge that Plaintiff is realleging and incorporating by
   3   reference prior allegations, and these Answering Defendants deny said allegations
   4   to the extent previously denied.
   5         68.     In answer to paragraph 68 of Plaintiff’s Complaint, Answering
   6   Defendants admit Plaintiff is attempting to assert a cause of action for conspiracy
   7   under federal law to violate his civil rights.
   8         69.     In answer to paragraph 69 of Plaintiff’s Complaint, Answering
   9   Defendants deny each and every allegation in said paragraph.
  10         70.     In answer to paragraph 70 of Plaintiff’s Complaint, Answering
  11   Defendants deny each and every allegation in said paragraph.
  12         71.     In answer to paragraph 71 of Plaintiff’s Complaint, Answering
  13   Defendants deny each and every allegation in said paragraph.
  14
  15                              AFFIRMATIVE DEFENSES
  16
  17                          FIRST AFFIRMATIVE DEFENSE
  18         72.     The individual Defendants are entitled to qualified immunity since
  19   the applicable law was not clearly established and since a reasonable official in
  20   their positions could have believed their conduct was lawful.
  21                         SECOND AFFIRMATIVE DEFENSE
  22         73.     Plaintiff’s Complaint fails to state a cause of action against
  23   Defendants.
  24                          THIRD AFFIRMATIVE DEFENSE
  25         74.     Plaintiff’s claims are barred by the doctrine of judicial estoppel.
  26                        FOURTH AFFIRMATIVE DEFENSE
  27         75.     Plaintiff’s claims are barred by the doctrine of equitable estoppel.
  28   ///

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    1                         FIFTH AFFIRMATIVE DEFENSE
    2         76.    Plaintiff’s claims are barred by the doctrine of collateral estoppel/res
    3   judicata.
    4                         SIXTH AFFIRMATIVE DEFENSE
    5         77.    Plaintiff’s suit and the relief sought therein are barred by the Prison
    6   Litigation Reform Act, i.e., 42 U.S.C. § 1997e et seq.
    7                       SEVENTH AFFIRMATIVE DEFENSE
    8         78.    Plaintiff’s claims are barred by the doctrine of unclean hands.
    9                        EIGHTH AFFIRMATIVE DEFENSE
   10         79.    Plaintiff’s claims are barred by the doctrine of laches.
   11                         NINTH AFFIRMATIVE DEFENSE
   12         80.    Plaintiff failed to mitigate his damages.
   13                         TENTH AFFIRMATIVE DEFENSE
   14         81.    Plaintiff's Complaint fails to state a cause of action against these
   15   Defendants because, pursuant to Monell v. Department of Social Services of the
   16   City of New York, 436 U.S. 658 (1978), there can be no recovery for a federal
   17   civil rights violation where there is no constitutional deprivation occurring
   18   pursuant to governmental policy or custom.
   19                      ELEVENTH AFFIRMATIVE DEFENSE
   20         82.    Pursuant to California Government Code § 818, and Newport City v.
   21   Fact Concerts, Inc., 453 U.S. 247 (1981), the public entity Defendants are not
   22   liable for exemplary or punitive damages in any sum, or at all.
   23                       TWELFTH AFFIRMATIVE DEFENSE
   24         83.    The County Sheriff and his subordinates act on behalf of the state,
   25   not the County, when engaged in law enforcement activities. Consequently, any
   26   policies, practices, or customs alleged in the Complaint are not those of the
   27   County.
   28   ///

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    1                     THIRTEENTH AFFIRMATIVE DEFENSE
    2          84.    Defendants are immune from liability under the Eleventh
    3   Amendment to the Constitution of the United States.
    4                     FOURTEENTH AFFIRMATIVE DEFENSE
    5          85.    Plaintiff’s Complaint does not state facts sufficient to constitute a
    6   cause of action against these Defendants under 42 U.S.C. § 1983 because
    7   pursuant to Parratt v. Taylor, 451 U.S. 527 (1981), simple negligence is not a
    8   federal civil rights violation.
    9                       FIFTEENTH AFFIRMATIVE DEFENSE
   10          86.    Defendants are entitled to quasi-judicial immunity.
   11                       SIXTEENTH AFFIRMATIVE DEFENSE
   12          87.    A conspiracy cannot be generally alleged in an action brought under
   13   the Civil Rights Act.
   14                    SEVENTEENTH AFFIRMATIVE DEFENSE
   15          88.    Under the Civil Rights Act, where intent is an element of the claim,
   16   the facts must be alleged in the Complaint with specificity.
   17                     EIGHTEENTH AFFIRMATIVE DEFENSE
   18          89.    That the damages, if any, should be in direct proportion to the fault
   19   of these Defendants, if any, as provided by California Civil Code §§ 1431 to
   20   1431.5.
   21                     NINETEENTH AFFIRMATIVE DEFENSE
   22          90.    To the extent that Plaintiff suffered any detriment, such detriment
   23   was caused or contributed to by Plaintiff's negligence and damage, if any, should
   24   be reduced in direct proportion to his fault.
   25                      TWENTIETH AFFIRMATIVE DEFENSE
   26          91.    The injuries and damages alleged by Plaintiff were proximately caused
   27   by the negligence, conduct, and liability of other persons or entities, and these
   28   Defendants request that an allocation of such negligence, conduct, and liability be

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    1   made among such other persons or entities and that, if any liability is found on the
    2   part of these Defendants, judgment against these Defendants be only in an amount
    3   which is proportionate to the extent and percentage by which these Defendants’ acts
    4   or omissions contributed to Plaintiff's injuries or damages, if at all.
    5                    TWENTY-FIRST AFFIRMATIVE DEFENSE
    6         92.    The negligence of a third-party or parties was a superseding,
    7   intervening cause of Plaintiff's injuries.
    8                    TWENTY-SECOND AFFIRMATIVE DEFENSE
    9         93.    Because Plaintiff’s Complaint is couched in conclusory terms, these
   10   answering Defendants cannot fully anticipate all the affirmative defenses that
   11   may be applicable to the within action. Accordingly, the right to assert additional
   12   affirmative defenses, if and to the extent that such affirmative defenses are
   13   applicable, is hereby reserved.
   14
   15         WHEREFORE, Answering Defendants pray for judgment as follows:
   16         1.     That Plaintiff takes nothing by reason of his Complaint, and that
   17   judgment be entered in favor of Answering Defendants;
   18         2.     That Answering Defendants recover their costs of suit incurred
   19   herein, including reasonable attorneys’ fees; and
   20         3.     For such other and further relief as the Court deems proper and just.
   21
   22   Dated: March 5, 2021                     LAWRENCE BEACH ALLEN & CHOI, PC
   23
   24                                            By             /s/ Paul B. Beach              _
   25                                                     Paul B. Beach
                                                          Attorneys for Defendants
   26
                                                          Undersheriff Paul Tanaka and
   27                                                     Captain William Carey
   28


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    1                            DEMAND FOR JURY TRIAL
    2
    3         Defendants Undersheriff Paul Tanaka and Captain William Carey hereby
    4   respectfully demand a trial by jury on all claims in the within action as provided
    5   by Federal Rules of Civil Procedure, Rules 38(a) and (b).
    6
    7   Dated: March 5, 2021                   LAWRENCE BEACH ALLEN & CHOI, PC
    8
    9                                          By           /s/ Paul B. Beach                _
   10                                                 Paul B. Beach
                                                      Attorneys for Defendants
   11
                                                      Undersheriff Paul Tanaka and
   12                                                 Captain William Carey
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